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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



   SUMMER INFANT (USA), INC.,

          Plaintiff,

                   -against-                           C.A. No. 17-cv-549-MSM-PAS

   TOMY INTERNATIONAL, INC.,

          Defendant.


              DECLARATION OF JEFFREY K. TECHENTIN IN SUPPORT OF
                    PLAINTIFF SUMMER INFANT (USA), INC.’S
              MOTION IN LIMINE TO PRECLUDE DEFENDANT’S EXPERT
                  WITNESS, CHARLES MAURO, FROM TESTIFYING

         I, Jeffrey K. Techentin, hereby state and declare as follows:

         1.      I am a shareholder of Adler Pollock & Sheehan, P.C. and counsel to Plaintiff

  Summer Infant (USA), Inc. (“Summer Infant”) in the above-referenced matter. I make this

  Declaration on the basis of my personal knowledge.

         2.      The document provided as Exhibit 1 hereto is a true and correct copy of U.S.

  Patent No. 6,578,209.

         3.      The document provided as Exhibit 2 hereto is a true and correct copy of the

  deposition transcript of Charles L. Mauro.

         4.      The document provided as Exhibit 3 hereto is a true and correct copy of the letter

  dated November 14, 2017 from Joseph M. Kuo, Esq. of Saul Ewing Arnstein & Lehr LLP,

  counsel for TOMY International, Inc. (“TOMY”) to Mr. Mark Messner, CEO and President of

  Summer Infant.




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         5.      The document provided as Exhibit 4 hereto is a true and correct copy of the letter

  dated November 29, 2017 from Joseph M. Kuo, Esq. of Saul Ewing Arnstein & Lehr LLP,

  TOMY’s counsel to me as Summer Infant’s counsel.

         6.      The documents provided as Exhibit 5 hereto are true and correct copy of TOMY’s

  Responses to Summer Infant’s First Set of Interrogatories and TOMY’s Supplemental Responses

  to Summer Infant’s First Set of Interrogatories.

         7.      The documents provided as Exhibit 6 are photographs of the tub that Rodney

  Voss marked up at his deposition on June 18, 2019. The tub remains in the possession of

  TOMY’s counsel. I took the photographs at the conclusion of the deposition.

         8.      The document provided as Exhibit 7 hereto is a true and correct copy of the letter

  dated June 26, 2019 from me as Summer Infant’s counsel to Joseph M. Kuo, Esq. of Saul Ewing

  Arnstein & Lehr LLP as TOMY’s counsel.

         9.      The document provided as Exhibit 8 hereto is a true and correct copy of the

  deposition transcript excerpts of Rodney Voss dated June 18, 2019.

         10.     The document provided as Exhibit 9 hereto is a true and correct copy of the expert

  report of Charles L. Mauro.

         11.     The document provided as Exhibit 10 hereto is a true and correct copy of the

  document produced and identified as TI_001616-1632, US Product Quality and Compliance

  Manual.

         12.     The document provided as Exhibit 11 hereto is a true and correct copy of the

  document produced and identified as SI_0000409-420, Supplier Agreement.




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           13.      The document provided as Exhibit 12 hereto is a true and correct copy of an

  excerpt from the Dictionary of Mathematic Terms, McGraw-Hill, Second Edition, defining

  angle.

           14.      The document provided as Exhibit 13 hereto is a true and correct copy of an

  excerpt from the Dictionary of Mathematic Terms, Barron’s Professional Guides, Third Edition,

  defining angle of inclination.

           15.      The document provided as Exhibit 14 hereto is a true and correct copy of an

  excerpt from the Dictionary of Mathematic Terms, Barron’s Professional Guides, Third Edition,

  defining slope.

           I declare under penalty of perjury that the foregoing statements are, to the best of my

  knowledge and belief, true and correct.

           Executed this 22nd day of February, 2021, in Providence, Rhode Island.



                                                 /s/ Jeffrey K. Techentin
                                                 Jeffrey K. Techentin




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